
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]
                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 96-1980

                                    JONATHAN BALL,

                                Plaintiff - Appellant,

                                          v.

                       ROGER CARROLL AND CHARLES F. HENDERSON,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                            Bownes, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            John A. Bosk on brief for appellant.
            ____________
            Christine E. McGinn with whom Brian Rogan and Law Offices of
            ___________________           ___________     ______________
        Timothy M. Burke were on brief for appellee Roger Carroll.
        ________________
            Edward M. Pikula with whom Cohen, Rosenthal, P.C. was on brief
            ________________           ______________________
        for appellee Charles F. Henderson.

                                 ____________________

                                  FEBRUARY 19, 1997
                                 ____________________























                      Per Curiam.  This appeal raises the specter of
                      Per Curiam.
                      __________

            affirming the dismissal of a potentially viable claim for the

            violation of federally protected rights under 42 U.S.C.  

            1983.  Having analyzed the district court's memorandum

            accompanying its order of dismissal, we agree that the

            statute of limitations has run.  Accordingly, plaintiff-

            appellant Jonathan Ball has no basis for relief and we

            affirm.1

                      We briefly state the relevant facts.  On December

            3, 1992, defendant-appellee Roger Carroll, a Massachusetts

            state trooper, pulled Ball over for speeding on Interstate 93

            in Massachusetts.  According to Ball and the report from a

            subsequent investigation by the Massachusetts Attorney

            General, Carroll next ordered Ball out of his car and then,

            when Ball did not respond quickly enough, dragged him out of

            the vehicle and allowed his head to hit the pavement. 

            Carroll then struck Ball in the face and kneed him in the

            back for no apparent reason.  Adding insult to injury,

            Carroll arrested Ball and charged him with (1) assault and

            battery on a police officer, (2) refusing to obey a police


                                
            ____________________

            1.  We voted  to  consider this  appeal as  submitted and  to
            dispense with  oral argument.  The shortness  of time between
            our decision  and oral  argument, however, prevented  us from
            formally removing the case from  the February docket.  Ball's
            counsel's  scheduling conflict  had  nothing to  do with  our
            decision that oral argument would not be helpful in resolving
            this appeal.  


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            officer, (3) driving without a license, and (4) speeding. 

            All counts were subsequently nol prosed by the state

            prosecutor.  

                      We look to state law for the statute of limitations

            applicable to   1983 actions.  See Wilson v. Garcia, 471 U.S.
                                           ___ ______    ______

            261, 276-80 (1985) (indicating that state personal injury

            statute of limitations governs   1983 actions). 

            Massachusetts imposes a three-year statute of limitations for

            personal injury claims, see Mass. Gen. Laws ch. 260   2A, and
                                    ___

            thus Ball had three years from the date of the incident to

            file suit.  Ball filed his complaint on December 29, 1995. 

            The district court, noting that Ball filed his complaint 26

            days too late, granted Carroll's motion to dismiss.

                      On appeal, Ball primarily reasserts arguments that

            failed in the district court.  We affirm for essentially the

            same reasons set forth in that court's memorandum of August

            8, 1996, adding only a brief response to Ball's request that

            we consider an equitable tolling of the statute of

            limitations.

                      Ball contends that the district court should have

            tolled the statute of limitations during the pendency of the

            original criminal charges against him.  He argues that his

            tardiness in no way prejudices Carroll and the other

            defendants, and that the egregious facts, largely supported





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            by the investigatory report of the Massachusetts Attorney

            General, warrant such a tolling.

                      For this argument, Ball relies on the Ninth

            Circuit's decision in Harding v. Galceran, 889 F.2d 906 (9th
                                  _______    ________

            Cir. 1989).  Harding involved an altercation between an
                         _______

            individual, Harding, and sheriff's deputies in Los Angeles,

            California.  See id. at 907.  Following the altercation, the
                         ___ ___

            deputies filed criminal charges against Harding.  A jury

            acquitted him of the charges.  Subsequently, and more than

            one year after the incident and after the pertinent

            limitations period had expired, Harding commenced a   1983

            action against the deputies involved.  The district court

            dismissed Harding's complaint as time barred.  See id.
                                                           ___ ___

                      On appeal, the Ninth Circuit reinstated Harding's

            action.  The court noted that by statute, California

            prevented plaintiffs from filing civil actions against police

            officers during the pendency of criminal charges.  See id. at
                                                               ___ ___

            907 n.2.  The court found this provision inconsistent with

            the purposes of   1983.  It announced that henceforth the

            statute would be interpreted either not to prevent   1983

            actions from being filed while criminal charges were pending,

            or to toll the California statute of limitations until the

            final disposition of the criminal charges.  See id. at 908. 
                                                        ___ ___

            The Ninth Circuit then concluded that Harding's action was





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            timely because his claim was filed within one year of the

            disposition of the criminal charges against him.  See id.
                                                              ___ ___

                      We decline to accede to Ball's request that we

            adopt the Ninth Circuit rule.  First, unlike the one-year

            limit in California, Massachusetts allows plaintiffs a more

            generous three years within which to file a   1983 action. 

            See Mass. Gen. Laws ch. 260   2A.  Second, Massachusetts has
            ___

            not enacted a statute prohibiting plaintiffs from filing

            actions against police officers during the pendency of

            criminal charges against those plaintiffs.  Ball thus was

            free to present his claim any time after the incident, see
                                                                   ___

            Mass. Gen. Laws ch. 258   4 (requiring presentation of claims

            to executive officer of agency prior to filing suit), and to

            commence this action six months later.  See id. (indicating
                                                    ___ ___

            that if executive officer of agency takes no action on claim

            within six months, claimant may file suit).  Third, neither

            the year-long criminal action nor the six-month presentment

            period explains Ball's failure to timely file this suit. 

            Ball presented his claim on November 30, 1994.  By statute

            the presentment period expired by May 30, 1995.  The three-

            year statute of limitations did not run until December 3,

            1995.  Despite Ball's delay in presenting his claim, he still

            had over six months after his claim was effectively denied to

            commence suit. 





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                      Although we are not unmindful of the injuries

            Carroll gratuitously inflicted on Ball, we conclude that the

            statute of limitations has expired and we find no basis to

            grant him a judicial exception to the operation of

            Massachusetts law.

                      Affirmed.  See 1st Cir. R. 27.1.  No costs.
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